         Case 6:20-cv-00317-ADA Document 42 Filed 12/11/20 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                         IN THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

KIRSCH RESEARCH AND
DEVELOPMENT, LLC,

                       Plaintiff,
                                                              C.A. No. 6:20-CV-317-ADA
               v.

IKO INDUSTRIES, INC.;
                                                              JURY TRIAL DEMANDED
IKO INDUSTRIES, LTD.,

                       Defendants.


                                     SCHEDULING ORDER

       Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court ORDERS that the

following schedule will govern deadlines up to and including the trial of this matter:

        Deadline                    Item
        DONE                        Plaintiff serves preliminary 1 infringement contentions in the
                                    form of a chart setting forth where in the accused product(s)
                                    each element of the asserted claim(s) are found. Plaintiff shall
                                    also identify the earliest priority date (i.e. the earliest date of
                                    invention) for each asserted claim and produce: (1) all
                                    documents evidencing conception and reduction to practice for
                                    each claimed invention, and (2) a copy of the file history for
                                    each patent in suit.
        DONE                        Deadline for Motions to Transfer.
        December 10, 2020           Defendant serves preliminary invalidity contentions in the
                                    form of (1) a chart setting forth where in the prior art references
                                    each element of the asserted claim(s) are found, (2) an
                                    identification of any limitations the Defendant contends are
                                    indefinite or lack written description under section 112, and (3)
                                    an identification of any claims the Defendant contends are

1 The parties may amend preliminary infringement contentions and preliminary invalidity
contentions without leave of court so long as counsel certifies that it undertook reasonable efforts
to prepare its preliminary contentions and the amendment is based on material identified after
those preliminary contentions were served, and should do so seasonably upon identifying any
such material. Any amendment to add patent claims requires leave of court so that the Court can
address any scheduling issues.


                                                   1
         Case 6:20-cv-00317-ADA Document 42 Filed 12/11/20 Page 2 of 4




                                  directed to ineligible subject matter under section 101.
                                  Defendant shall also produce (1) all prior art referenced in the
                                  invalidity contentions, (2) technical documents, including
                                  software where applicable, sufficient to show the operation of
                                  the accused product(s), and (3) summary, annual sales
                                  information for the accused product(s) for the prior two years,
                                  unless the parties agree to some other timeframe.
        December 18, 2020         Parties exchange claim terms for construction.
        January 4, 2021           Parties exchange proposed claim constructions.
        January 8, 2021           Parties disclose extrinsic evidence. The parties shall disclose
                                  any extrinsic evidence, including the identity of any expert
                                  witness they may rely upon with respect to claim construction
                                  or indefiniteness. With respect to any expert identified, the
                                  parties shall also identify the scope of the topics for the
                                  witness’s expected testimony. 2 With respect to items of
                                  extrinsic evidence, the parties shall identify each such item by
                                  production number or produce a copy of any such item if not
                                  previously produced.
        January 15, 2021          Deadline to meet and confer to narrow terms in dispute and
                                  exchange revised list of terms/constructions.
        January 22, 2021          Plaintiff files Opening claim construction briefs, including any
                                  arguments that any claim terms are indefinite.
        February 12, 2021         Defendant file Responsive claim construction briefs.
        February 26, 2021         Plaintiff file Reply claim construction briefs.
        March 12, 2021            Defendant files a Sur-Reply claim construction brief.
        March 17, 2021            Parties submit Joint Claim Construction Statement.

                                  See General Issues Note #8 regarding copies of the briefing to
                                  the Court and technical adviser (if appointed).
        March 26, 2021            Parties submit optional technical tutorials to the Court and
                                  technical adviser (if appointed).3
        April 2, 2021             Markman Hearing, 1:30 p.m.
        April 5, 2021             Fact Discovery opens; deadline to serve Initial Disclosures per
                                  Rule 26(a).
        May 14, 2021              Deadline to add parties.
        May 28, 2021              Deadline to serve Final Infringement and Invalidity
                                  Contentions. After this date, leave of Court is required for any
                                  amendment to Infringement or Invalidity contentions. This
                                  deadline does not relieve the Parties of their obligation to
                                  seasonably amend if new information is identified after initial
                                  contentions.

2
  Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied
upon by the other party.
3 The parties should contact the law clerk to request a Box link so that the party can directly

upload the file to the Court’s Box account.


                                                 2
Case 6:20-cv-00317-ADA Document 42 Filed 12/11/20 Page 3 of 4




July 23, 2021            Deadline to amend pleadings. A motion is not required unless
                         the amendment adds patents or claims. (Note: This includes
                         amendments in response to a 12(c) motion.)
October 1, 2021          Deadline for the first of two meet and confers to discuss
                         significantly narrowing the number of claims asserted and prior
                         art references at issue. Unless the parties agree to the
                         narrowing, they are ordered to contact the Court’s Law Clerk
                         to arrange a teleconference with the Court to resolve the
                         disputed issues.
October 29, 2021         Close of Fact Discovery.
November 5, 2021         Opening Expert Reports.
December 3, 2021         Rebuttal Expert Reports.
December 24, 2021        Close of Expert Discovery.
December 30, 2021        Deadline for the second of two meet and confer to discuss
                         narrowing the number of claims asserted and prior art
                         references at issue to triable limits. To the extent it helps the
                         parties determine these limits, the parties are encouraged to
                         contact the Court’s Law Clerk for an estimate of the amount of
                         trial time anticipated per side. The parties shall file a Joint
                         Report within 5 business days regarding the results of the meet
                         and confer.
January 7, 2022          Dispositive motion deadline and Daubert motion deadline.

                         See General Issues Note #8 regarding providing copies of the
                         briefing to the Court and the technical adviser (if appointed).
January 21, 2022         Serve Pretrial Disclosures (jury instructions, exhibits lists,
                         witness lists, discovery and deposition designations).
February 4, 2022         Serve objections to pretrial disclosures/rebuttal disclosures.
February 11, 2022        Serve objections to rebuttal disclosures and file Motions in
                         limine.
February 18, 2022        File Joint Pretrial Order and Pretrial Submissions (jury
                         instructions, exhibits lists, witness lists, discovery and
                         deposition designations); file oppositions to motions in limine
February 25, 2022        File Notice of Request for Daily Transcript or Real Time
                         Reporting. If a daily transcript or real time reporting of court
                         proceedings is requested for trial, the party or parties making
                         said request shall file a notice with the Court and e-mail the
                         Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com

                         Deadline to meet and confer regarding remaining objections
                         and disputes on motions in limine.

3 business days before   File joint notice identifying remaining objections to pretrial
Final Pretrial           disclosures and disputes on motions in limine.
Conference.



                                       3
 Case 6:20-cv-00317-ADA Document 42 Filed 12/11/20 Page 4 of 4




                      Final Pretrial Conference. The Court expects to set the Final
                      Pretrial Conference within 2-4 weeks of the trial date.
                      Jury Selection/Trial. The Court expects to set this date at the
                      conclusion of the Markman Hearing.

               11th
SIGNED this __________            December
                       day of _________________________, 2020.

                                 ________________________________
                                 ALAN D ALBRIGHT
                                 UNITED STATES DISTRICT JUDGE




                                    4
